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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                               DISTRICT OF DELAWARE

In re:                                                           Chapter 7

ARMSTRONG FLOORING, INC., et al.,1                               Case No. 22-10426 (MFW)
                                                   Debtors.      (Jointly Administered)
ARMSTRONG FLOORING, INC.

                                                 Plaintiff,
vs.
                                                                 Adv. No. 23-50068 (MFW)
TBL SERVICES, INC., AND TOTAL
TRANSPORTATION OF MISSISSIPPI, LLC,

                                             Defendant.

         CERTIFICATION OF COUNSEL REQUESTING EXTENSION OF TIME
              FOR DEFENDANT TO RESPOND TO THE COMPLAINT

         I, Peter J. Keane, of Pachulski Stang Ziehl & Jones LLP, counsel for Alfred T. Giuliano,

chapter 7 trustee (the “Plaintiff” or “Trustee”) to the estate in the above-captioned adversary

proceeding (the “Adversary Proceeding”), hereby certify as follows:

         1. On or about January 30, 2023, Armstrong Flooring, Inc.2 initiated the Adversary

Proceeding by the filing of an adversary Complaint to Avoid Transfers Pursuant to 11 U.S.C. §§

547, 548 and 502 and to Recover Property Transferred Pursuant to 11 U.S.C. § 550 (the

“Complaint”) [Docket No. 1] against Total Transportation of Mississippi, LLC (the “Defendant”

together with Plaintiff the “Parties”).


1
  The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification numbers,
are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring Latin America, Inc.
(2943); and Armstrong Flooring Canada Ltd. (N/A). The address of the Debtors’ corporate headquarters is PO Box
10068, 1770 Hempstead Road, Lancaster, PA 17065.
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  The Adversary Proceeding was originally filed by the Debtors. On April 17, 2023, their chapter 11 cases were
converted to ones under chapter 7 of the Bankruptcy Code, and the Trustee is now the Plaintiff as the successor in
interest.



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         2. On or about February 1, 2023, a Summons and Notice of Pretrial Conference In an

Adversary Proceeding (the “Summons”) [Docket No. 3] was filed.

         3. The Parties have engaged in discussions concerning a potential resolution of the

Adversary Proceeding and have agreed to continue these discussions prior to requiring Defendant

to file its answer or other response to the Complaint. Accordingly, the Parties have agreed that the

time within which Defendant may answer, move or otherwise plead to the Complaint should be

extended to and including August 18, 2023. The Parties have memorialized their agreement in the

Stipulation Extending Time for Defendant to Respond to the Complaint (the “Stipulation”).

         4.       Attached hereto as Exhibit A is a proposed order (the “Order”) approving the

Stipulation. A copy of the Stipulation is attached to the Order as Exhibit 1.

         WHEREFORE, the Parties respectfully request entry of the Order.




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Dated: July 21 2023
                                               PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ Peter J. Keane
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                                               Peter J. Keane, Esq. (DE Bar No. 5503)
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                                               Counsel for Alfred T. Giuliano,
                                               Chapter 7 Trustee of Armstrong Flooring, Inc.,
                                               et al.




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                    EXHIBIT “A”




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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                               DISTRICT OF DELAWARE

In re:                                                           Chapter 7

ARMSTRONG FLOORING, INC., et al.,1                               Case No. 22-10426 (MFW)
                                                   Debtors.      (Jointly Administered)
ARMSTRONG FLOORING, INC.

                                                 Plaintiff,
vs.
                                                                 Adv. No. 23-50068 (MFW)
TBL SERVICES, INC., AND TOTAL
TRANSPORTATION OF MISSISSIPPI, LLC,

                                             Defendant.

               ORDER APPROVING STIPULATION FOR EXTENSION OF TIME
                  FOR DEFENDANT TO RESPOND TO THE COMPLAINT

         AND NOW upon consideration of the Stipulation for Extension of Time for Defendant to

Respond to the Complaint (the “Stipulation”) between Alfred T. Giuliano, chapter 7 trustee (the

“Plaintiff” or “Trustee”) to the estate in the above-captioned adversary proceeding and Total

Transportation of Mississippi, LLC (the “Defendant”) attached hereto as Exhibit “1”; the Court having

determined that no further notice of the Stipulation must be given; it is hereby

         ORDERED that the Stipulation is hereby APPROVED, and it is

         FURTHER ORDERED that the time within which Defendant may answer, move or otherwise

plead to the Complaint is hereby further extended to and including August 18, 2023.




1
  The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification numbers,
are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring Latin America, Inc.
(2943); and Armstrong Flooring Canada Ltd. (N/A). The address of the Debtors’ corporate headquarters is PO Box
10068, 1770 Hempstead Road, Lancaster, PA 17065.



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                                      EXHIBIT “1”




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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                               DISTRICT OF DELAWARE

In re:                                                           Chapter 7

ARMSTRONG FLOORING, INC., et al.,1                               Case No. 22-10426 (MFW)
                                                   Debtors.      (Jointly Administered)
ARMSTRONG FLOORING, INC.

                                                 Plaintiff,
vs.
                                                                 Adv. No. 23-50068 (MFW)
TBL SERVICES, INC., AND TOTAL
TRANSPORTATION OF MISSISSIPPI, LLC,

                                             Defendant.

                        STIPULATION FOR EXTENSION OF TIME FOR
                       DEFENDANT TO RESPOND TO THE COMPLAINT

         Alfred T. Giuliano, chapter 7 trustee (the “Plaintiff” or “Trustee”) to the estate in the above-

captioned adversary proceeding, and Total Transportation of Mississippi, LLC (the “Defendant”

and, together with Plaintiff, the “Parties”), through their respective counsel, enter into this

Stipulation for Extension of Time For Defendant to Respond to the Complaint (the “Stipulation”)

and hereby stipulate and agree as follows:

         1.       The Parties agree and stipulate that the time within which Defendant may answer,

move, or otherwise plead to the Complaint [D.I. 1] is hereby further extended to and including

August 18, 2023.




1
  The Debtors in these chapter 7 cases, along with the last four digits of their respective tax identification numbers,
are as follows: Armstrong Flooring, Inc. (3305); AFI Licensing LLC (3265); Armstrong Flooring Latin America, Inc.
(2943); and Armstrong Flooring Canada Ltd. (N/A). The address of the Debtors’ corporate headquarters is PO Box
10068, 1770 Hempstead Road, Lancaster, PA 17065.


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 Dated: July 21, 2023                              Dated: July 21, 2023

 PACHULSKI STANG ZIEHL & JONES LLP                 CHAMBLISS BAHNER & STOPHEL, PC

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 -and-

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 Counsel for Alfred T. Giuliano, Chapter 7
 Trustee of Armstrong Flooring, Inc., et al.




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